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                                                                                                                           ^iled
                                                     UNITED STATES DISTRICT COURT
                                                     EASTERN DISTRICT OF VIRGINIA
                                                                 ALEXANDRIA
                                                                                                                             I 1 P If: Ij Q
                                                 COUNTERCLAIM / CROSS COMPLAINT^, r,. ,,
                                                               CIVIL COMPLAINT                                                   '\*PJP-URJ
      The Culture of the FBI, DOJ,Government & Elected Officials is to COVER UP tor'EACdOTHER
                                                          DEMAND FOR A JURY TRIAL
JANICE WOLK GRENADIER
                                                                                CASE NO. 1:18-CV-571
Vs.
                                                                                    Virginia and the United States Constitutional Rights
JUDGE HENRY E. HUDSON
                                                                                    Federal Constitutional rights under
PRESIDENT DONALD J. TRUMP(TRUMP)                                                       Title 42 U.S Code §1981 & 1983,
                                                                                       Title 18 U.S. Code § 241 § 242,
DEPARTMENT of JUSTICE aka
ATTORNEY GENERAL JEFF SESSIONS(DOJ*)                                                Rico and Racketeer Influenced and
                                                                                    Corrupt Organization Act 18 U.S.C § 1961 - 1968
FEDERAL BUEARU ofINVESTIGATION aka
CHRISTOPHER WRAY(FBI)^                                                              Bill of Rights the 4 Freedoms: speech, worship,
                                                                                              want,freedom offear. Freedom of Speech
VIRGINIA STATE BAR(VSB)'
                                                                                    Obstruction of Justice by DOJ,FBI & many Judges
JOHN and or Jane DOE 1-50


                               SUPPLEMENT Counter Claim Cross Complaint filed May 10,2018
                                  42 U.S. Code § 1983 - Civil action for deprivation of rights
Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
or the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other oerson
within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
proceeding for redress, except that in any action brought against a judicial officer for an act or omission taken
in such officer's judicial capacity, injunctive relief shall not be granted unless a declaratory decree was violated
or declaratory relief was unavailable. For the purposes of this section, any Act of Congress applicable
exclusively to the District of Columbia shall be considered to be a statute of the District of Columbia
-I

  Responsible for the Criminal Activity of: Sarah Isgur Flores, Donald Kempf, Andrew Finch,Joseph Guzinski,Trustee THOMAS P. GORMAN,ChiefJudge
 Honorable Rebecca Beach Smith USDC ofEastern Division of Virginia Judge Leonie M. Brinkema. Judge Gerald Bruce Lee, Judge Liam O'Grady, Judge
Anthony J. Trenga,Senior Judge James C Cacheris,Senior Judge Claude M. Hilton.Senior Judge T.S. Ellis. Ill, Maeistrate Judge Theresa C. Buchanan,
Magistrate Judge John F. Anderson,Magistrate Judge Ivan D. Davis, Magistrate Judge MichaelNachmanoff,Magistrate Judge T. Rawies Jones, Jr. USDC of
the Eastern Division of Virginia(Alexandria) ChiefJudge Roger L Gregory, Judge J. Hande Wilkinson III, Judge Paul V. Member,Judge Diana Gribbon
Motz,Judge William B. Traxler, Jr. Judge Robert B. King, Judge Dennis W.Shedd, Judge Allyson K Duncan, Judge G. Steven Agee, Judge Barbara Milano
Keenan,Judge James A Wynn,Jr. Judge AlbertDita, Judge Henry F. Floyd, Judge Stephartle D. Thacker, Judge Pamela A Harris, Senior Judge Cfyde H.
Hamilton^ Senior Judge Andre M.Davis         Fourth Circuit Court of Appeals ChiefJudge Beryi A. HoweU, District Judge Emmet G.Sullivan, District Judge
James E. Boasberg, District Judge Amy Berman Jackson, District Judge Rudolph Contreras,Senior Judge Royce C Lamberth, Senior Judge Ellen S. Huvelle,
Senior Judge Reggie B. Walton, Senior Judge Richard J. Leon,Senior Judge Rosemary M. CoUyer USDC ofthe District ofColumbia ChiefJudge: MERRICK B.
GARLAND United States Court of Appeals District ofColumbia Circuit Judee Brian Kennev. Judee Stephen Mitchell US Bankruptcy Court for the Eastern
District of Virginia (Alexandria)
2
     Responsible for the Criminal Activity of: Marcus Wilson
3
  Responsible fo the Criminal Activity of: James McCauley(FB Conv Exhibit 20), Seth M.Guggenheim,Barbara Saunders, DaVida Davis,Karen A. Gould,Renu
Brennan,James C. Bodie, Kathryn R. Montgomery, Randy E. Webne,Edward L. Davis, Elizabeth K. Shoenfeid,John A.C. Keith, Yvonne S. Gibney (wife ofJudge
Gibney) Bretta M.Z. Lewis, Sandra M. Rohrstaff, Stephen A. Wannall, Divorce Lawyer Ilona Ely Grenadier Heckman,Ben DiMuro, Michael Weiser,Judge John
Tran,Hillary Collyer, Andrea Mosley et al


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